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 6                         IN THE UNITED STATES DISTRICT COURT
 7                                 FOR THE DISTRICT OF ARIZONA
 8                                           )   No. CV-17-08225-PCT-SPL
     Janine Hanson,
 9                                           )
                                             )
                      Plaintiff,             )   ORDER
10                                           )
     vs.
11                                           )
                                             )
     Northland Group, LLC,                   )
12                                           )
13                    Defendant.             )
                                             )
14                                           )

15         No stipulation to dismiss having been filed, in accordance with the Court’s March
16   1, 2018 Order (Doc. 25),
17         IT IS ORDERED that this action is dismissed with prejudice.
18         IT IS FURTHER ORDERED that the Clerk of Court shall terminate this action.
19         Dated this 4th day of April, 2018.
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21                                                  Honorable Steven P. Logan
                                                    United States District Judge
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